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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF FLORIDA
                                GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                            CASE NO. 1:05-cr-00033-MP-AK

CRAIG BREWER,

      Defendant.
________________________________/

                                           ORDER

         This matter is before the Court on Doc. 172, Motion to Continue Sentencing filed by the

Government. The Government requests the continuance so that the Defendant may continue to

provide assistance in the matter of United States v. Charles Wright. A telephone hearing was

held on this matter on Tuesday, August 22, 2006. During the hearing, counsel for the Defendant

indicated that the Defendant had no objections to the motion. Accordingly, the motion is

granted. Defendant’s sentencing is hereby rescheduled for Thursday, October 19, 2006, at 1:30

p.m.

         DONE AND ORDERED this           22nd day of August, 2006


                                       s/Maurice M. Paul
                                  Maurice M. Paul, Senior District Judge
